DODERIDGE and WHITLOCK, JJ., concurred. The statute 21 Jac., c. 13, p. 372, does not help this, for it aids only where the venirefacias is of one place, where it should be of both, or e converso. But here is no place from which the venire is to be.
The statutes of Jeoffails have always been construed liberally.
Adjournatur, the other Judges being absent.
And afterwards the court, being full, was of the same opinion.
Hitcham, Serj., prayed and obtained a repleader, for there could be no new trial. But if there had been an issue made, and a mistrial, they would have awarded a new venire, and not a repleader. Godb., 469, 382; Bayneham'scase; 5 Coke, 36. *Page 771 